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                  Exhibit 32
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    any higher education institution willing to embrace common sense, stop violating the law, and
    commit to restoring civil rights and order on their campuses,” the White House official said.

    They added, “The administration is only willing to work with entities that operate in good faith
    and are not merely paying lip service without tangible actions. Many schools want to make a
    deal, and the President is willing to work with them.”

    Officials at some other schools are waiting for the White House to turn its attention away from
    Harvard. A board member at a major university targeted by the task force, who was granted
    anonymity to speak freely, described communications as “irregular,” but said there have been
    repeated efforts by the task force to get the school’s leadership to come to Washington for a
    meeting.

    “There is very little enthusiasm for that,” the board member said. “We do not have any interest
    in being their ‘model school’ or whatever.”

    They added, “At this point, we feel very comfortable with the steps we’ve taken, and we don’t
    have any need to fight the administration, per se – unless they decide to mess with our core
    values. When it comes, we will be ready to fight them. But that doesn’t mean we need to
    provoke them.”

    Some universities across the country have hired political consultants and experts to respond to
    some of the administration’s demands, while Harvard has launched an aggressive legal
    strategy and is organizing its alumni networks.

    Efforts to target Harvard began even before President Donald Trump returned to office, with
    Trump allies arguing they’re cracking down on antisemitism on campus amid the Israel-Hamas
    war. But the administration’s actions extend to a broader agenda – setting up a major clash
    over academic freedom, federal funding and campus oversight – and a belief inside the White
    House that it’s a winning political issue for Trump.

    The crackdown is led by the Task Force to Combat Anti-Semitism, an interagency group that
    meets at least weekly, the White House official said, and is in regular communication about
    where to train its focus. At the helm is former Fox News personality and civil rights lawyer-
    turned-senior Justice Department official Leo Terrell. Miller and Mailman are also driving forces
    behind decision making, sources said.



    The administration’s next targets
    The administration has been happy with steps taken by some schools, praising some of its
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    initial targets for complying with demands, including efforts to dismantle diversity, equity, and
    inclusion programs and crack down on campus protests.

    And which schools the administration could go after next appears to be a moving target.

    But Terrell suggested this week that “massive lawsuits” are coming and would take aim at the
    University of California system, among others.

    “Expect massive lawsuits against UC system. … On the East Coast, on the West Coast, in the
    Midwest, expect hate crime charges filed by the federal government. Expect Title VII lawsuits
    against those individuals who are not being protected simply because they’re Jewish,” he told
    Fox News.

    Asked for comment on Terrell’s threats, Rachel Zaentz, a spokesperson for the University of
    California, said that the school system is cooperating with the Trump administration.

    “The University of California abhors antisemitism and is diligently working to address, counter
    and eradicate it in all its forms across the system. We have been, and plan to continue,
    cooperating with the Administration. Antisemitism has no place at UC or anywhere else in
    society. The University remains entirely focused on strengthening our programs and policies to
    root out antisemitism and all forms of discrimination,” Zaentz said.

    The White House official told CNN last month that the task force was having discussions with
    Harvard and Columbia, as well as Northwestern University, Cornell University and the University
    of Michigan.

    A February Justice Department news release also identified George Washington University;
    Johns Hopkins University; New York University; the University of California, Berkeley; the
    University of Minnesota; and the University of Southern California as “campuses that have
    experienced antisemitic incidents since October 2023” that the task force planned to visit.

    University leaders have been coming to DC to meet with administration officials, so no campus
    visits have been necessary, according to a senior administration official.

    CNN has reached out to each of the schools named by the Trump administration for comment.
    Statements from the University of Southern California and the University of Minnesota both
    denounced antisemitism and said the schools would engage with the task force on efforts to
    combat it.

    Pressed on how the task force is making determinations about funding for Harvard and other
    schools, the White House official said that their investigations often begin with complaints.

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    “The relevant agency or department will conduct an investigation into violations to federal law,
    whether Title IV and Title IX, Title VI, Title XI, Title XII, and, based on those investigations, there
    can be immediate action to pause funding and wait for a resolution to the investigation, or, in
    more egregious examples, like Harvard, there could just be a blanket removal of all federal
    funds because of their lack of cooperation in an investigation or their blatant disregard for their
    violations to federal law and their unwillingness to change policy,” the official said.

    And the senior administration official indicated this week that any school with an open Title VI
    investigation could be subject to government action. Title VI is part of the Civil Rights Act of
    1964 prohibiting discrimination based on race, color or national origin in programs or activities
    receiving federal funding. There are more than 70 colleges and universities currently under
    active Title VI investigations as of Wednesday, according to a CNN analysis of data provided by
    the Department of Education. (A vast majority of those investigations were launched during the
    Biden administration.)



    An ongoing battle with Harvard
    And even as it looks at other schools, the administration hasn’t taken its eye off Harvard, with
    which it’s engaged in multiple legal battles.

    The administration has also launched an investigation into its foreign funding sources through a
    provision of the Higher Education Act requiring reporting of foreign gifts and contracts called
    Section 117. A prior Section 117 investigation into Harvard was recently closed.

    “As standard practice, Harvard has filed Section 117 reports for decades as part of its ongoing
    compliance with the law. As is required, Harvard’s reports include information on gifts and
    contracts from foreign sources exceeding $250K annually. This includes contracts to provide
    executive education, other training, and academic publications,” Jason Newton, a
    spokesperson for Harvard University, said in a statement, noting that Harvard’s filings reflect
    “diverse sources” of support for the school.

    And a tax provision in Trump’s “one big, beautiful bill,” which passed the House of
    Representatives last week but still has to get through the Senate, could have significant impact
    on Harvard and other institutions with large endowments. In its current form, it would
    implement a new “tiered system” of taxes on private colleges and universities’ investment
    income. The endowment tax is currently a flat 1.4% rate but could become as high as 21% for
    schools like Harvard with large endowments.

    The administration believes there’s political support for that provision, with Education Secretary
    Linda McMahon telling Fox News on Wednesday, “That’s something that the American public
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    could wrap its head around.”



    How long will this last?
    Trump administration messengers have offered mixed signals about how the process moves
    forward.

    The source familiar with the higher education response questioned the appetite to proceed at
    an aggressive pace.

    “If you go after Harvard, how hard can you keep going? The universities are being played like a
    yo-yo for weeks and weeks and weeks. My guess is, at some point, the White House will lose
    interest in that. Once you’ve taken down Harvard, where are you going to go – Emory? They’re
    just as conscious of the brands as anybody else,” the source said.

    Ultimately, the source added, the market rules: “What’s going to happen to Harvard or
    Columbia? Record applicants, record yield. I would bet you that if you talked to MAGA voters at
    Charlotte Country Day School or The Westminster Schools – they may have voted for Trump, but
    are they turning away from the Ivy League? Hell no. The schools are having record demand.”

    Meanwhile, McMahon has suggested there is still hope for negotiations with Harvard, with
    whom the senior administration official said the administration is not currently in talks.

    “We really hope that we will be back at the table, negotiating, talking about the things that are
    good for Harvard and for the students that are on campus,” McMahon said.

    Terrell has struck a different tone.

    “We are going to go after them where it hurts them financially, and there’s numerous ways – I
    hope you can read between the lines – there’s numerous ways to hurt them financially,” he
    warned on Fox News.

    Asked when it would end, Terrell said, “We can’t speculate. We have to bring these universities
    to their knees.”



        Up next
        In the battle between Harvard and the Trump administration, the
        goalposts keep moving
        12 minute read

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